
PER CURIAM.
We have for review State v. Thayer, 489 So.2d 782 (Fla. 4th DCA 1986), in which the Fourth District Court of Appeal certified the following question as one of great public importance:
DO THE HOLDINGS IN JONES v. STATE, 477 So.2d 566 (Fla.1985), STATE v. G.P., 476 So.2d 1272 (Fla.1985) AND STATE v. C.C., 476 So.2d 144 (FLA.1985) PRECLUDE THE STATE FROM SEEKING CERTIORARI REVIEW OF NON-APPEALABLE INTERLOCUTORY ORDERS IN A CRIMINAL CASE WHERE THE STATE HAS DEMONSTRATED A CLEAR DEPARTURE FROM THE ESSENTIAL REQUIREMENTS OF LAW?
489 So.2d at 783. We have jurisdiction. Art. V, § 3(b)(4), Fla.Const.
We recently answered the question in the negative in State v. Pettis, 520 So.2d 250 (Fla.1988). Accordingly, we quash the decision below and remand for proceedings consistent with our decision in Pettis.
It is so ordered.
MCDONALD, C.J., and OVERTON, EHRLICH, SHAW, BARKETT, GRIMES and KOGAN, JJ., concur.
*572NOT FINAL UNTIL TIME EXPIRES TO FILE REHEARING MOTION AND, IF FILED, DETERMINED.
